Case 4:23-cv-04155-YGR Document 52-4 Filed 11/24/23 Page 1 of 2




   EXHIBIT                                            C
          Case 4:23-cv-04155-YGR Document 52-4 Filed 11/24/23 Page 2 of 2


From:                   Mattioli, Madison (USAMT)
To:                     Kara Janssen; Oren Nimni; susan@ccijustice.org
Cc:                     Cziok, Abbie (USAMT); Smith, Mark (USAMT); Tatarka, Tim (USAMT); Lo, Michelle (USACAN); Johann, Pamela
                        (USACAN)
Subject:                Case No.: 4:23-cv-04155
Date:                   Thursday, November 2, 2023 10:29:41 AM
Attachments:            image001.png




[EXTERNAL MESSAGE NOTICE]
Hi, Kara, Oren, and Susan – we received your letter dated October 31, 2023, addressed to Michelle
Lo, Pam Johann, and Jesse Laslovich.

Abbie Cziok and I are civil AUSAs in the District of Montana, and we have been assigned to Case No.:
4:23-cv-04155. In response to your letter, we understand that this matter is already being litigated
on an emergency basis by way of the pending motion for a preliminary injunction. We intend to
respond to Plaintiffs’ allegations in those proceedings.

Please direct future correspondence regarding Case No. 4:23-cv-04155 to Abbie and me.

Thanks!
Madison

                          Madison L. Mattioli
                          Assistant United States Attorney
                          U.S. Attorney’s Office - District of Montana
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